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                       UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


WILLIAM BURMAN,                                    '
                                                   '
                                                   '
        Plaintiff,                                 '
                                                   '
v.                                                 '   Civil Action No. 5:18-CV-429-XR
                                                   '
STATE FARM LLOYDS,                                 '
                                                   '
                                                   '
        Defendant,                                 '


                     ORDER ON MOTIONS FOR SUMMARY JUDGMENT

       On this date, the Court considered Defendant State Farm Lloyds’ Motion for Partial

Summary Judgment (docket no. 25), Plaintiff William Burman’s Motion for Partial Summary

Judgment (docket no. 22), and the corresponding responses and replies. After careful

consideration, the Court GRANTS Defendant’s motion and DENIES Plaintiff’s motion.

                                        BACKGROUND

       This insurance dispute stems from Plaintiff William Burman’s claim for damage caused

by a water leak. Burman insured his residential property at 12002 Rose Blossom Street through a

policy issued by Defendant State Farm Lloyds (“State Farm”). After Burman reported a

plumbing leak on February 26, 2016, he made a claim with State Farm, and State Farm paid for

several repairs, most of which are not at issue (for water damage to flooring, for example). The

only payment at issue relates to the foundation.

       State Farm retained engineer Oscar Lara of Lara Engineering to determine whether the

leak caused the foundation to move. Lara’s report, from May 12, 2016, stated “that the observed

foundation movements are primarily the result of seasonal moisture changes, and vegetation


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effects. However, the domestic water line leaked identified and repaired by [American Leak

Detection] did exacerbate the foundation movements in an isolated area of the residence.”

       State Farm paid to repair cosmetic damage from foundation movement that fell within

this “zone of influence,” as determined by Lara. Burman claims State Farm should pay for

foundation underpinning, which he claims was needed for damage caused by the plumbing leak.

Lara determined the foundation problems predated the leak and the leak damage did not warrant

underpinning, so, State Farm denied Burman’s claim for underpinning the foundation.

       Burman retained engineer Moises Cruz of A-1 Engineering, who concluded that the

foundation required underpinning because of the leak. Lara, in reviewing Cruz’s report, noted

Cruz identified other possible causes of foundation movement, reported that cracks pre-dating

the leak had worsened, and reported that the dome shape of the foundation indicated a long-term

problem. This review caused State Farm to reaffirm its denial.

       Based on this denial, Burman brought this action on April 3, 2018, in the 150th Judicial

District Court for Bexar County, Texas. Docket no. 1. He brings claims for breach of contract

and violations of the Texas Deceptive Trade Practices Act (“DTPA”) and Texas Insurance Code.

Docket no. 14. State Farm removed to this Court on May 8, 2018. Docket no. 1. Here, the parties

filed cross-motions for summary judgment, seeking an interpretation of the policy terms. Further,

State Farm moves for summary judgment on Burman’s extra-contractual claims.

                                         DISCUSSION

I.     Applicable Law

       a. Standard of Review

       The Court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law. FED. R.



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CIV. P. 56(a). To establish that there is no genuine issue as to any material fact, the movant must

either submit evidence that negates the existence of some material element of the non-moving

party’s claim or defense, or, if the crucial issue is one for which the non-moving party will bear

the burden of proof at trial, merely point out that the evidence in the record is insufficient to

support an essential element of the non-movant’s claim or defense. Lavespere v. Niagra Machine

& Tool Works, Inc., 910 F.2d 167, 178 (5th Cir. 1990). Once the movant carries its initial

burden, the burden shifts to the non-movant to show that summary judgment is inappropriate.

See Fields v. City of S. Hous., 922 F.2d 1183, 1187 (5th Cir. 1991).

         In order for a court to conclude that there are no genuine issues of material fact, the court

must be satisfied that no reasonable trier of fact could have found for the non-movant, or, in

other words, that the evidence favoring the non-movant is insufficient to enable a reasonable jury

to return a verdict for the non-movant. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250

n.4 (1986). In making this determination, the court should review all the evidence in the record,

giving credence to the evidence favoring the non-movant as well as the “evidence supporting the

moving party that is uncontradicted and unimpeached, at least to the extent that evidence comes

from disinterested witnesses.” Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 151

(2000). The Court “may not make credibility determinations or weigh the evidence” in ruling on

a motion for summary judgment, id. at 150, and must review all facts in the light most favorable

to the non-moving party, First Colony Life Ins. Co. v. Sanford, 555 F.3d 177, 181 (5th Cir.

2009).




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II.    Application

       The parties bring cross-motions for summary judgment on the policy terms relevant to

the foundation damage. The Court will first decide this issue, and then turn to State Farm’s

motion for summary judgment on the extra-contractual claims.

       a. Policy Liability Limit

               i. Insurance Policy Interpretation

       In a diversity case like this one, the Court applies Texas law. Jimenez v. State Farm

Lloyds, 968 F.Supp. 330, 332 (W.D. Tex. 1997) (citing Erie R.R. Co. v. Tompkins, 304 U.S. 64

(1938)). Under Texas law, the general rules of contract construction apply to insurance policies.

Sharp v. State Farm Fire & Cas. Ins. Co., 115 F.3d 1258, 1260 (5th Cir. 1997) (citing Nat'l

Union Fire Ins. Co. of Pittsburgh, Pa. v. CBI Indus., Inc., 907 S.W.2d 517, 520 (Tex. 1995)).

The court strictly construes ambiguities against the insurer, id. at 1260–61, and whether the

contract is ambiguous is a question of law for the court to decide, Nat'l Union Fire Ins. Co., 907

S.W.2d at 520 (citing Coker v. Coker, 650 S.W.2d 391, 394 (Tex. 1983)). The court looks first to

the contract’s language, and “[w]hen there is no ambiguity, it is the court's duty to give the words

used their plain meaning.” Sharp, 115 F.3d at 1261.

               ii. The Policy Terms

       Burman’s policy provides, in relevant part:

       SECTION I LOSSES INSURED

       COVERAGE A—DWELLING

       We insure for accidental direct physical loss to the property described in
       Coverage A, except as provided in SECTION I–LOSSES NOT INSURED.
Docket no. 25-1 at 0034.

       Section I Losses Not Insured provides:


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       SECTION I LOSSES NOT INSURED

       1. We do not insure for any loss to the property described in Coverage A which
       consists of, or is directly and immediately caused by, one or more of the perils
       listed in items a. through n. below, regardless of whether the loss occurs suddenly
       or gradually, involves isolated or widespread damage, arises from natural or
       external forces, or occurs as a result of any combination of these: . . .
       l. settling, cracking, shrinking, bulging, or expansion of pavements, patios,
       foundation, walls, floors, roofs or ceilings; . . . .
Id. at 0036.

       The Dwelling Foundation Endorsement (“DFE”) amended the policy as follows:

       Dwelling Foundation Coverage. We cover loss caused by and consisting of settling,
       cracking, shrinking, bulging, or expansion of the foundation, floor slab or footings that
       support the dwelling caused by seepage or leakage of water or steam from within a
       plumbing, heating, air conditioning or automatic fire protective sprinkler system.
       This coverage includes the cost of tearing out and replacing any part of the building
       necessary to repair the system from which the leakage or seepage occurred.
       We do not cover loss to the system from which the water or steam escaped.
       Limit of Liability. Our limit of liability for this coverage will not exceed an amount
       equal to 15% of the COVERAGE A—DWELLING limit applicable on the date of loss.
Id. at 0008.

               iii. Application

       At summary judgment, the parties ask that the Court construe the policy at issue. Both

motions center on the same issue: whether the claimed foundation damage is covered by

Coverage A or whether it falls in an exclusion. If it is not covered by Coverage A, the DFE

provides the sole coverage for Burman’s foundation damage. If the DFE provides the sole

coverage, the DFE’s limit of liability applies and any damages Burman is awarded on his breach

of contract claim, if successful, must be limited to 15 percent of the dwelling limit. This amounts

to $24,705.




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       Here, the Court finds the policy language clear and unambiguous. Another court

interpreting these same provisions reached the same conclusion. See Salazar v. State Farm

Lloyds, No. H-13-1904, 2014 WL 2862760 (S.D. Tex. June 24, 2014). In Salazar, the plaintiffs

argued that the DFE did not control where plumbing leaks—combined with drought

conditions—caused foundation movement. Id. at *2. The court rejected this argument,

concluding that “[t]he DFE explicitly and unambiguously limits liability for foundation damage

to an amount not exceeding ‘15% of the Coverage A—Dwelling limit benefits.’” Id. at *4; see

also Walker v. Nationwide Prop. and Cas. Ins. Co., 992 F. Supp. 2d 703, 707 (W.D. Tex. 2014)

(concluding a similar DFE was unambiguous and limiting recovery to the 15 percent DFE limit).

       Burman tries to distinguish Salazar by noting that the cause of the foundation movement

was multiple leaks, not a single leak (as here). Docket no. 30 at 5. But as State Farm correctly

notes, the cause of the foundation movement “does determine whether the [DFE] applies;

however, it is irrelevant to the issue before the Court on the Cross-Motions for Summary

Judgment.” Docket no. 31 at 4. These motions ask the Court only to determine whether the DFE

is the sole coverage for foundation movement under the policy and whether the DFE’s liability

limit applies to Burman’s claim for damages from foundation movement. Id. at 5.

       Having reviewed the policy and the record, the Court concludes that the DFE is the only

such coverage and its liability limit applies here. The damage on which Burman’s contractual

claim is predicated (the “dome” in Burman’s foundation, which Burman claims was caused by

the plumbing leak and State Farm claims is a long-term condition) is not covered by Coverage A.

This is because Section l under Losses Not Insured excludes damage caused by “settling,

cracking, shrinking, bulging, or expansion of . . . foundation . . . .” A plain reading of the policy

shows foundation movement is covered only by the DFE.



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       Thus, Burman’s damages, if any, for State Farm’s alleged breach of contract are limited

to 15 percent of the Coverage A – Dwelling limit, which is $24,705. State Farm is also entitled to

an offset for amounts already paid regarding the foundation.

       b. Extra-contractual Claims

       Next, the Court considers State Farm’s motion for summary judgment on Burman’s other

claims. In addition to the claim for breach of contract, Burman’s amended complaint brings

claims for “bad faith, unfair settlement practices of the Insurance Code § 541, and violations of

the Deceptive Trade Practices Act including but not limited to 17.46(b)(5)(6)(7)(12)(13) and (20)

and 17.50 as well as under the tie-in provisions relevant to the Insurance code.” Docket no. 27 at

5.

               i. Misrepresentations Under the Insurance Code

       Burman alleges that State Farm employees made promises of coverage that State Farm

did not satisfy, and that these statements are “affirmative misrepresentations made in the claim

settlement process.” Docket no. 27 at 5. Coupled with Burman’s citation to Chapter 541 (without

reference to any specific provision), the Court construes the claim as alleging a violation of

Section 541.060(a)(1). This provision prohibits “misrepresenting to a claimant a material fact of

policy provision relating to coverage at issue.” TEX. INS. CODE § 541.060(a)(1). Further, Burman

contends State Farm violated several provisions of the DTPA. Docket no. 27 at 5 (alleging

violations of TEX. BUS. & COMM. CODE § 17.46(b)(5), (6), (7), (12), (13), and (20)).

       There is no evidence at summary judgment, however, that State Farm made any specific

misrepresentations or that Burman detrimentally relied on any misrepresentation. Nor is there

evidence that any misrepresentation caused Burman’s damages. See Griggs v. State Farm

Lloyds, 181 F.3d 694, 701 (5th Cir. 1999) (“[B]oth the Insurance Code and the Deceptive Trade



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Practices Act require proof that the defendant's conduct was the cause in fact of actual

damages.”)). As State Farm notes, Burman admitted at deposition that State Farm did not tell

him anything untrue or false, docket no. 25-18 at 30, and Burman’s response does not point to

any misrepresentations, much less offer evidence of them. Thus, the Court grants summary

judgment on these claims.

               ii. Statutory and Common Law Claims Related to Unfair Settlement
                   Practices

       Next, Burman, bringing statutory and common law claims, alleges State Farm committed

unfair settlement practices. Under Texas law, breach of the common law duty of good faith and

fair dealing “focuses not on whether the claim was valid, but on the reasonableness of the

insurer's conduct” in handling the claim. Lyons v. Millers Cas. Ins. Co. of Tex., 866 S.W.2d 597,

601 (Tex. 1993)). Thus, “an insurer will be liable if the insurer knew or should have known that

it was reasonably clear that the claim was covered.” Universe Life Ins. Co. v. Giles, 950 S.W.2d

48, 50–51 (Tex. 1997) “Evidence that shows only a bona fide coverage dispute does not rise to

the level of bad faith.” Douglas v. State Farm Lloyds, 37 F. Supp. 2d 532, 537 (S.D. Tex. 1999)

(internal citation omitted).

       As to statutory claims, “[t]he Texas Insurance Code and the Deceptive Trade Practices

Act are in large measure statutory fleshings-out of the already existing, common law

requirements.” Robinson v. State Farm Fire & Cas. Co., 13 F.3d 160, 162 (5th Cir. 1994). Extra-

contractual tort claims under the Texas Insurance Code and DTPA “require the same predicate

for recovery as bad faith causes of action in Texas.” Higginbotham v. State Farm Mut. Ins. Co.,

103 F.3d 456, 460 (5th Cir. 1997). Thus, “in order to establish a statutory violation under the

Insurance Code or the DTPA, the elements necessary to demonstrate an insurer's breach of the




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common law duty of good faith and fair dealing must be proven.” Douglas, 37 F. Supp. 2d at

544.

       Here, the record at summary judgment indicates no more than a “bona fide coverage

dispute.” In response to State Farm’s motion, Burman argues

       [t]here exists no bona fide dispute that the foundation needed repair and that it
       moved because of the leak. At the time of the denial all experts agreed upon that
       fact. The water leak caused the need for the repair. The proper repair is complete
       underpinning. At the time of the denial by State Farm to repair the foundation,
       there was no evidence to support the denial. . . . Since State Farm paid for
       foundation movement there is no justification for the denial of the foundation
       repair.

Docket no. 30 at 7.

       Oscar Lara’s report agreed that the leak caused some foundation movement, but that the

primary cause was long-term movement due to seasonal changes and vegetation effects. After

reviewing Cruz’s report, Lara also agreed that if the foundation were repaired, a full

underpinning was recommended. As State Farm notes, however, “[t]his is not the same as saying

that the foundation needed to be repaired or more particularly that it needed to be underpinned

because of the plumbing leak.” Docket no. 31 at 7.

       Further, State Farm cites State Farm Lloyds v. Nicolau, in which the Texas Supreme

Court stated that while “evidence showing only a bona fide coverage dispute does not, standing

alone, demonstrate bad faith,” it is also true “that an insurer's reliance upon an expert's report,

standing alone, will not necessarily shield the carrier if there is evidence that the report was not

objectively prepared or the insurer's reliance on the report was unreasonable.” 951 S.W.2d 444,

448 (Tex. 1997).

       Burman’s assessment of the expert reports is incorrect—there was a bona fide coverage

dispute and there is no indication that State Farm knew or should have known that coverage was



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reasonably clear. Further, Burman introduces no evidence that Lara’s report was not objectively

prepared or that State Farm’s reliance on it was unreasonable. Even construing the evidence in

Burman’s favor, then, no reasonable factfinder could find that State Farm committed unfair

settlement practices. Thus, the Court grants summary judgment for State Farm on Burman’s

common law and statutory unfair settlement practices claims.

       Finally, Burman seeks additional damages for “knowing” violations of the Insurance

Code and DTPA, but since Burman’s statutory claims fail, his claims for “knowing” statutory

violations also fail. And under the same reasoning, the Court grants summary judgment for State

Farm as to any claims for exemplary damages related to bad faith insurance practices, to the

extent Burman’s amended complaint raises such claims.

                                       CONCLUSION

       Defendant State Farm’s motion for partial summary judgment (docket no. 25) is

GRANTED and Plaintiff Burman’s motion for partial summary judgment (docket no. 22) is

DENIED. Accordingly, only Burman’s breach of contract claim remains.

       It is so ORDERED.

       SIGNED this 4th day of April, 2019.



                                          _________________________________

                                          XAVIER RODRIGUEZ
                                          UNITED STATES DISTRICT JUDGE




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